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                            UNITED STATES DISTRICT COURT
                                DISTRICT OF COLUMBIA

 ANDREW G. MCCABE,

                                     Plaintiff,
                                                        No. 19-cv-2399
                       v.

 WILLIAM P. BARR, in his official
 capacity as Attorney General of the United
 States, et al.,

                                  Defendants.



              [PROPOSED] STIPULATED CLAWBACK AGREEMENT AND
                   FEDERAL RULE OF EVIDENCE 502(d) ORDER

       Pursuant to Federal Rule of Evidence 502(d), Federal Rule of Civil Procedure 26(b), and

its inherent authority, the Court hereby orders that the inadvertent production of information or

documents (or part of a document) shall not constitute a waiver of any privilege or protection as

to that information or any portion of that document, or as to any undisclosed privileged or protected

communications or information concerning the same subject matter, in this or in any other

proceeding. This Order applies to attorney-client privilege, work-product protection as defined by

Federal Rule of Civil Procedure Rule 26(b), governmental privileges, or any other applicable

privilege. Nothing in this Order shall constitute an admission that any document disclosed in this

litigation is subject to any of the foregoing privileges or protections, or that any party or subpoena

recipient is entitled to raise or assert such privileges. Additionally, nothing in this Order shall

prohibit parties or subpoena recipients from withholding from production any document covered

by any applicable privilege or other protection.




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       The parties intend that this stipulated order shall provide additional protections beyond the

provisions of Federal Rule of Evidence 502(b)(1) and (2). That is, the disclosure of privileged or

protected information, as described above, in this litigation shall not constitute a subject matter

waiver of the privilege or protection in this or any other federal or state proceeding, regardless of

the standard of care or specific steps taken to prevent disclosure. However, nothing in this Order

shall limit the right of a party or subpoena recipient to conduct a pre-production review of

documents as it deems appropriate.

I.     DEFINITIONS

       1.      “Document,” as used herein, includes all items listed in Federal Rule of Civil

Procedure 34(a)(1)(A) and (B).

       2.      “Documents Produced,” as used herein, includes all documents made available for

review or produced in any manner during this litigation.

II.    PROCEDURES

       The procedures applicable to a claim of privilege on a produced document and the

resolution thereof shall be as follows:

       1.      The producing party or subpoena recipient retains the burden of establishing the

privileged or protected nature of any produced information or document for which a privilege or

protection is asserted. Nothing in this Order is intended to shift the burden to identify privileged

and protected documents from the producing party or subpoena recipient to the receiving party.

       2.      If a party discovers a document, or part thereof, produced by another party or

subpoena recipient that is privileged or otherwise protected, the receiving party shall promptly

notify the producing party or subpoena recipient and must then return the document or destroy it

(to the extent reasonably technically feasible, if the document is stored on a computerized system

or is incorporated into another document) and certify that it has been destroyed to the producing


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party or subpoena recipient. The receiving party must also promptly identify, sequester, and

destroy any notes taken about the document (to the extent reasonably technically feasible, if the

document is stored on a computerized system or is incorporated into another document).

         3.    If the producing party or subpoena recipient determines that a document produced,

or part thereof, is subject to a privilege or privileges (or protection(s)), the producing party or

subpoena recipient shall give the receiving party notice of the claim of privilege (“privilege

notice”).

         4.    The privilege notice must contain information sufficient to identify the document

including, if applicable, a Bates number as well as identification of the privilege asserted and its

basis.

         5.    Upon receiving the privilege notice, if the receiving party agrees with the privilege

assertion made, the receiving party must promptly follow the procedures set forth in Paragraph

II.2 above applicable to a receiving party’s own discovery of a document’s privileged or otherwise

protected nature. If a receiving party disclosed the document or information specified in the notice

before receiving the notice, it must take reasonable steps to retrieve it, and so notify the producing

party or subpoena recipient of the disclosure and its efforts to retrieve the document or information.

         6.    Upon receiving the privilege notice, if the receiving party wishes to dispute the

privilege notice of a producing party or subpoena recipient, the receiving party shall promptly meet

and confer with the producing party or subpoena recipient. The document(s) shall be sequestered

immediately upon receiving the privilege notice and not be used by the receiving party in the

litigation (e.g., filed as an exhibit to a pleading, used in deposition) while the dispute is pending.

If the privilege notice concerns a document that a receiving party intends to use in a filing, and the

notice is received within five business days of the filing’s deadline, the party adverse in this Action




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to the receiving party will consent to a motion to extend the filing’s deadline by up to five business

days, so that the receiving party can revise the filing to remain in compliance with this Agreement

and Order. Nothing in this Order shall limit a receiving party’s right to move to extend a filing

deadline if a privilege notice is received more than five business days before the deadline.

       7.      If the receiving party and the producing party or subpoena recipient are unable to

come to an agreement about the privilege assertions made in the privilege notice, the receiving

party may make a sealed motion for a judicial determination of the privilege claim. Nothing in

this Order shall limit the right of any party to request an in camera review of inadvertently

disclosed information.

       8.      Pending resolution of the judicial determination, the receiving party and the

producing party or subpoena recipient shall preserve and refrain from using the challenged

information for any purpose and shall not disclose it to any person other than those required by

law to be served with a copy of the sealed motion. The receiving party’s motion challenging the

assertion must not publicly disclose the information claimed to be privileged. Any further briefing

by any party or subpoena recipient shall also not publicly disclose the information claimed to be

privileged if the privilege claim remains unresolved or is resolved in favor of the producing party

or subpoena recipient.

       9.      If a document must be returned or destroyed as determined by the process above,

that document, along with copies and notes about the document that exist on back-up tapes,

information technology (“IT”) systems, or similar storage, need not be immediately deleted or

destroyed, and, instead, such materials shall be overwritten and destroyed in the normal course of

business. Until they are overwritten in the normal course of business, the receiving party will take




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reasonable steps to limit access, if any, to the persons necessary to conduct routine IT and

cybersecurity functions.



Dated:
                                                 Hon. Randolph D. Moss
                                                 United States District Judge




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